
386 U.S. 17 (1967)
KAYE
v.
CO-ORDINATING COMMITTEE ON DISCIPLINE OF THE ASSOCIATION OF THE BAR OF THE CITY OF NEW YORK.
No. 300.
Supreme Court of United States.
Decided February 13, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE APPELLATE DIVISION OF THE SUPREME COURT OF NEW YORK, FIRST JUDICIAL DEPARTMENT.
Morton Liftin for petitioner.
Angelo T. Cometa for respondent.
PER CURIAM.
The petition for a writ of certiorari is granted. The judgment is vacated and the case is remanded to the Appellate Division of the Supreme Court of New York, First Judicial Department, for reconsideration in light of Spevack v. Klein, 385 U. S. 511.
MR. JUSTICE CLARK, MR. JUSTICE HARLAN, and MR. JUSTICE STEWART would affirm the judgment below for the reasons stated in the dissenting opinions of MR. JUSTICE HARLAN in Spevack v. Klein, 385 U. S., at 520, and Garrity v. New Jersey, 385 U. S. 493, 500.
MR. JUSTICE WHITE dissents for the reasons stated in his dissenting opinion in Garrity v. New Jersey, and Spevack v. Klein, 385 U. S., at 530.
